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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA                    JS-6
                              CIVIL MINUTES-GENERAL

 Case No. CV-16-8040-MWF (SKx)                            Date: January 17, 2017
 Title:   Carpenters Southwest Administrative Corp., et al. v. HKB, Inc., et al.
 Present:   The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                             Court Reporter:
            Rita Sanchez                              Not Reported

            Attorneys Present for Plaintiff:          Attorneys Present for Defendant:
            None Present                              None Present

 Proceedings (In Chambers): ORDER RE MOTION TO DISMISS OR, IN THE
                            ALTERNATIVE, TO TRANSFER VENUE [11];
                            MOTION FOR JOINDER [12]

       Before the Court is Defendant HKB, Inc. 's ("HKB") Motion to Dismiss or, in
 the Alternative, to Transfer Venue, filed on December 5, 2016. ("Motion to Dismiss,"
 Docket No. 11 ). Plaintiffs Carpenters Southwest Administrative Corporation and the
 Board of Trustees for the Carpenters Southwest Trust filed an Opposition to the
 Motion to Dismiss on December 19, 2016. (Docket No. 16). A Reply was filed on
 December 29, 2016. (Docket No. 26).

      In addition, Defendants Harry Kent Baker, Scott William Miller, and James
Douglas Wilson filed a Motion for Joinder in the Motion to Dismiss on December 7,
2016. ("Joinder Motion," Document No. 12).

       The Court held a hearing on January 9, 2017.
       For the reasons stated below, the Motion to Dismiss is DENIED, the alternative
Motion to Transfer is GRANTED, and the Joinder Motion is GRANTED. While
dismissal under forum non conveniens is inappropriate here, the Court concludes that
this action should be transferred to Arizona under 29 U.S.C. § 1404(a). The factors
considered under§ 1404(a) weigh heavily in favor of transfer, due in large part to the
presence of key witnesses in Arizona. In addition, whether the putative contracts
(including the forum selection clause) were agreed to or ratified by Defendant HKB is
inextricably intertwined with the merits of the underlying dispute.


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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                             CIVIL MINUTES-GENERAL

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 Title:   Carpenters Southwest Administrative Corp., et al. v. HKB, Inc., et al.
       Accordingly, the Court orders this action transferred to the District of Arizona.

 I.    BACKGROUND

       Plaintiffs filed this action seeking ERISA benefit contributions allegedly owed
 under a collective bargaining agreement ("CBA"). (Complaint, Docket No. 1, ~ 1).
 Defendant HKB, Inc., doing business as Southwest Industrial Rigging, is alleged to
 have executed a collective bargaining agreement with the Southwest Regional Council
 of Carpenters ("SWRCC"), a union, in 2013. (Id.~ 15). The CBA and attached
 agreements provided that Plaintiffs would become signatories and administrators for
 various trust agreements and funds, which granted the union members certain benefits.
 (Id.~~ 15-20). As relevant here, the agreements each contained forum selection
 clauses stating that all litigation related to the agreements would take place in Los
 Angeles County, California. (Declaration of Daniel M. Shanley, Docket No. 17, Ex.
 2).

        For three years after the CBA was signed, Defendant HKB used the services of
 SWRCC-represented carpenters and filed required reports with Plaintiffs concerning
 hours worked by such carpenters. (Declaration of Richard Watanabe, Docket No. 16-
 1, ~~ 5, 6). In 2016, Plaintiffs audited HKB's contributions to the various trust funds
                                                                                   ~
 and found the payments delinquent. (Id.~ 4). In response to a demand letter sentby
 Plaintiffs after the audit, HKB asserted that the person who had signed the CBA on
 behalf of HKB did not have the authority to do so, and that HKB had never knowp
about the agreements. (Shanley Deel., Ex. 5). After HKB refused to make any further
payments, this action followed.

       After this action was filed, HKB filed suit in Arizona federal court seeking to
have the CBA invalidated on state law grounds. See HKB, Inc. v. Board of Trustees
for the Southwest Carpenter's Southwest Trust, et al., No. 2:16-cv-03799-DJH (D.
Ariz. 2016). This case is still pending, along with a Motion to Dismiss filed by the
Board.

      The individual Defendants, Baker, Miller, and Wilson, are employees ofHKB.
(Joinder Motion, Ex. 1).


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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES-GENERAL

 Case No. CV-16-8040-MWF (SKx)                            Date: January 17, 2017
 Title:   Carpenters Southwest Administrative Corp., et al. v. HKB, Inc., et al.
 II.    LEGAL STANDARD

        The Motion to Dismiss seeks to have this action dismissed on the basis of the
 forum non conveniens doctrine, or transferred to Arizona pursuant to 29 U.S.C. §
 1404(a). The individual Defendants seek to join the Motion to Dismiss on the same
 grounds. Defendants argue that the case should be dismissed or transferred because
 they lack contacts with California, convenience of the parties weighs in favor of
 transfer, and the key witnesses and evidence are in Arizona. (Motion to Dismiss at 1).
 In addition, Defendants argue that the forum selection clause is unenforceable for
 vanous reasons.

       A.     Forum Non Conveniens

        Dismissal under forum non conveniens and transfer under § 1404(a) are related
 and tum on similar legal principles. The Supreme Court has instructed that§ 1404(a)
 is "merely a codification of the doctrine of forum non conveniens for the subset of
 cases in which the transferee forum is within the federal court system; in such cases,
 Congress has replaced the traditional remedy of outright dismissal with transfer." Atl.
 Marine Const. Co. v. US. Dist. Court for W Dist. of Texas, 134 S. Ct. 568, 580
 (2013). In addition, the factors a court analyzes in determining whether to transfer
 under§ 1404(a) are the same as those required under forum non conveniens. Seelid.
 (citing Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 37 (1988) (Scalia, J., dissenting)
 (Section 1404(a) "did not change the relevant factors which federal courts used tq
 consider under the doctrine of forum non conveniens") ).                            ·

        Accordingly, as an initial matter, the Court will not dismiss the case under forum
 non conveniens. Because the proposed alternative forum in this action is Arizona,
 transfer under § 1404(a), and not dismissal, is the proper remedy. See id.

       B.     Transfer Under§ 1404(a)

       "For the convenience of parties and witnesses, in the interest of justice, a district
 court may transfer any civil action to any other district or division where it might have
 been brought ...." 28 U.S.C. § 1404(a). However, a motion to transfer should not

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 merely shift the inconvenience from the moving party to the opposing party. See
 Decker Coal Co. v. Commonwealth Edison Co., 805 F.2d 834, 843 (9th Cir. 1986)
 (affirming the denial of a transfer because the transfer "would merely shift rather than
 eliminate the inconvenience").

        "The burden is on the moving party to establish that a transfer will allow a case
 to proceed more conveniently and better serve the interests of justice." Alls tar Mktg.
 Group, LLC v. Your Store Online, LLC, 666 F. Supp. 2d 1109, 1131 (C.D. Cal. 2009);
 See also Commodity Futures Trading Comm. v. Savage, 611F.2d270, 279 (9th Cir.
 1979); STX Inc. v. Trik Stik, Inc., 708 F. Supp. 1551, 1555-56 (N.D. Cal. 1988) ("In
 seeking to transfer a case to a different district, a defendant bears a heavy burden of
 proof to justify the necessity of the transfer. The plaintiffs choice of forum should not
 be easily overturned"). The threshold question under Section 1404(a) requires the
 court to determine whether the case could have been brought in the forum to which the
 transfer is sought." Roling v. E*Trade Secs., LLC, 756 F. Supp. 2d 1179, 1184 (N.D.
 Cal. 2010).

       "If venue would be appropriate in the would-be transferee court, then the court
must make an individualized, case-by-case consideration of convenience and fairness."
Roling, 756 F. Supp. 2d at 1184. As part of this analysis, the Court may consider a
number of factors, including but not limited to ( 1) the location where the relevant
agreements were negotiated and took place; (2) the state that is most familiar wit~ the
governing law; (3) the plaintiffs choice of forum; (4) the respective parties' contacts
with the forum; (5) the contacts relating to the plaintiffs cause of action in the chosen
forum; ( 6) the differences in the costs of litigation in the two forums; (7) the    \
availability of compulsory process to compel attendance of unwilling non-party
witnesses; and (8) the ease of access to sources of proof. Jones v. GNC Franchising,
Inc., 211 F.3d 495, 498-99 (9th Cir. 2000).




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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES-GENERAL

 Case No. CV-16-8040-MWF (SKx)                            Date: January 17, 2017
 Title:   Carpenters Southwest Administrative Corp., et al. v. HKB, Inc., et al.
 III.   DISCUSSION

        A.    Motion to Transfer

              1.    Plaintiffs' Choice of Forum

        Defendants make various arguments in support of transfer to Arizona.

       As an initial matter, venue would have been proper in Arizona. ERISA allows
 for venue where the plan is administered, where the breach took place, where a
 defendant resides, or where a defendant may be found. 29 U.S.C. § 1132(e)(2).
 Clearly several of those alternatives would include Arizona, where HKB and all its
 employees can be found.

        Importantly, Defendants cite case law indicating that the usual weight given to a
plaintiffs choice of forum is diminished in certain contexts. For instance, "the
plaintiffs choice of forum is diminished if the moving party establishes one or more of
the following factors: (1) the operative facts have not occurred within the forum; (2)
the forum has no particular interest in the parties or subject matter; (3) the forum is not
the primary residence of either the plaintiff or defendant; or (4) the subject matter of
the litigation is not substantially connected to the forum. Catch Curve, Inc. v. Venali,
Inc., 2006 WL 4568799, at *2 (C.D. Cal. Feb. 27, 2006) (citing Steelcase Inc. v. ,
Haworth Inc., 1996 U.S. Dist. LEXIS 20674, at * 5 (C.D.Cal.1996)); see also Metz v.
US. Life Ins. Co. in City ofN.Y., 674 F. Supp. 2d 1141, 1146 (C.D. Cal. 2009)
("[T]here are instances in which a plaintiffs choice of forum receives less weight\")
(citing Catch Curve, Inc., 2006 WL 4568799, at *2); Hernandez v. Graebel Van Lines,
761 F. Supp. 983, 990-91 (E.D.N.Y.1991) (giving "less significance" to the plaintiffs
choice ofNew York as a forum where the accident occurred in Florida, most of the
witnesses were [in Florida] and the only connection with New York was that the
plaintiff resided in New York and received treatment there).

      Defendants argue that all of the operative facts here occurred in Arizona.
(Motion to Dismiss at 13 ). HKB is an Arizona entity and each of the individual
Defendants resides and works in Arizona. (Declaration of James Douglas Wilson,

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 Joinder Motion, Ex. 1). The CBA was signed in Arizona by Tom Allen, a salesman
 working for HKB in Arizona. (Id.). In addition, all work performed by union
 carpenters for HKB took place in Arizona. (Id.). Plaintiffs do not seem to disagree
 with any of these contentions. Thus, the Court finds that Plaintiffs' choice of forum is
 entitled to less weight than is normally the case.

              2.    Convenience to the Parties and Witnesses

        Proceeding to the other factors, the Court examines the convenience to the
 parties and witnesses. "The relative convenience to the witnesses is often recognized
 as the most important factor to be considered in ruling on a motion under§ 1404(a)."
 Metz, 674 F. Supp. 2d at 1147.

        Defendants argue that key witnesses are in Arizona. Defendants assert at least
twenty-two HKB employees in Arizona, including Mr. Allen, the signatory of the
CBA, could possess relevant testimony. (Id.). In addition, the three individual
Defendants each reside in Arizona. Plaintiffs point to various witnesses located in
California, all employees of Plaintiff Carpenters Southwest Administrative
Corporation, who are located in Los Angeles. (Opposition at 22). The three witnesses
discussed would be necessary to establish the records reviewed in the court of the audit
conducted on HKB, and the payments received by Plaintiffs from HKB. Plaintiffs also
note that inconvenience to witnesses who are employees of a defendant is often
discounted. See, e.g., Al/star Mktg. Grp., LLC v. Your Store Online, LLC, 666 F. Supp.
2d 1109, 1132 (C.D. Cal. 2009) ("The court accords less weight to the inconvenience
of party witnesses, however, as they can be compelled to testify regardless of the
forum in which the lawsuit is ultimately litigated."); Hartfield v. Offshore Oil Services,
Inc., 2006 WL 2670984, *6 (S.D. Tex. Sept. 14, 2006) ("The Court reiterates thatthe
convenience of key witnesses who are employees of the defendant requesting transfer
is entitled to less weight because that party will be able to compel their testimony at
trial."); Worldwide Financial LLP v. Kopko, 2004 WL 771219, *3 (S.D. Ind. Mar. 18,
2004) ("The courts ordinarily assume that the parties will be sufficiently motivated to
have their own partners or employees or other allies appear for trial wherever it might
take place. Parties may use Rule 45 of the Federal Rules of Civil Procedure to conduct


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                         UNITED STATES DISTRICT COURT
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 discovery all over the United States, so the principal concern along these lines is to
 make non-party witnesses available for trial. The aim is to minimize the risk of trial by
 deposition.").

       Both parties correctly point out that the importance of the witnesses, and not the
 quantity of witnesses, weighs more heavily in determining whether transfer is
 appropriate. See Metz, 674 F. Supp. 2d at 1147. Defendants, as stated, point to over
 twenty witnesses residing in Arizona who may possess relevant information. Eight of
 these witnesses are union members, not employees ofHKB. Plaintiffs note only three
 witnesses, and each of Plaintiffs' witnesses is a party witness, whose importance is
 discounted relative to non-party witnesses. Plaintiffs' failure to point to a single non-
 party witness in California is an important factor in the transfer analysis.

       In terms of the importance of witnesses, Defendants' Arizona witnesses possess
crucial information regarding Mr. Allen's authority to execute the contract, HKB's
history of hiring union carpenters without a long-term contract, and the scope of the
work performed by union carpenters for HKB. Plaintiffs' witnesses would seem to be
necessary to testify concerning only document authentication, or to serve as custodians
of Plaintiffs' records. The Court concludes that Defendants' witnesses will serve a
more important role at trial, and that trial in California will be a significant
inconvenience given that they all live in Arizona. The Court concludes that this factor
weighs in favor of transferring the case to Arizona.

       The convenience to the parties is a related factor. HKB' s offices and all of its
employees are located in Arizona. HKB asserts that it does no business in California.
(Motion to Dismiss at 13). Plaintiffs, on the other hand, have offices and employees in
California. Defendants note, however, that Plaintiffs are actively engaged in busipess
in Arizona, as they represent many union workers and a union office is located in'
Arizona. This factor weighs in favor of transfer as well.

      At the hearing, counsel for Defendants represented that the Joinder Motion
included a motion to dismiss for lack of personal jurisdiction under Rule 12(b)(2) of
the Federal Rules of Civil Procedure. Counsel stated that these objections would be


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 dropped if the case were transferred, and so the Court need not address these
 jurisdictional issues.

              3.    Expense of Litigation

        Many courts have noted that the "ease of access to documents does not weigh
 heavily in the transfer analysis, given that advances in technology have made it easy
 for documents to be transferred to different locations." Metz, 674 F. Supp. 2d at 1149
 (quoting Szegedy v. Keystone Food Prod., Inc., 2009 WL 2767683 (C.D. Cal. Aug. 26,
 2009)); see Mohamed v. Mazda Motor Corp., 90 F.Supp.2d 757, 778 (E.D. Tex.2000)
 ("[T]he accessibility and location of sources of proof should weigh only slightly in this
 court's transfer analysis, particularly since these factors have been given decreasing
 emphasis due to advances in copying technology and information storage."). With
 respect to the overall cost of litigation, because most of the important witnesses are in
 Arizona, litigation expenses will be increased by having a trial take place in California
 rather than Arizona. This factor weighs slightly in favor of transfer.

              4.    Familiarity with Governing Law

        Although this action concerns ERISA, a federal law familiar to all federal
district courts, Defendants argue that Arizona law will play a large role in the
litigation. (Motion at 14). For example, whether claims are barred by the statute of
limitations is governed by Arizona law. See Blood Sys., Inc. v. Roesler, 972 F. Supp.
2d 1150, 1154 (D. Ariz. 2013) ("The parties agree that ERISA itself does not contain a
statute of limitations applicable to Plaintiffs' claims. Therefore, the Court must borrow
the most analogous state statute of limitations."). In addition, Defendants' claim that
the CBA does not bind them perhaps depends on issues of Arizona contract law. But
other courts have determined that judges in each district are fully capable of applying
the substantive law of other districts. See, e.g., Szegedy v. Keystone Food Prod., ~nc.,
2009 WL 2767683, at *7 (C.D. Cal. Aug. 26, 2009) ("The judges in each jurisdiction
are fully capable of deciding issues arising under both California and Pennsylvania
law."); Metz, 674 F. Supp. 2d at 1148 ("Accordingly, it is clear that courts in the
Central District of California are fully capable of applying New York substantive


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 law."). The Court sees no reason why it could not apply substantive Arizona law. This
 factor does not weigh in favor of transfer.

              5.     Forum Selection Clause

        The most difficult issue here is whether the forum selection clause prevents
 transfer, which otherwise would obviously be appropriate. The Supreme Court has
 instructed that "a proper application of§ 1404(a) requires that a forum-selection clause
 be given controlling weight in all but the most exceptional cases." At!. Marine Const.
 Co, 134 S. Ct. at 579. Defendants respond that the forum selection clause is not
 binding because the CBA was not ratified and because of Arizona public policy.

        Resolution of these issues is tantamount to resolving the merits of the action.
 This Court is unwilling to do so given the cursory showing of the parties, especially
 Plaintiffs, which is perhaps understandable given the early state of the litigation.
 Rather than reach the merits of ratification or the applicability of Arizona law on this
 point, the only sensible course is to look at the other factors, which collectively point in
 favor of transfer. Moreover, as noted above, under certain circumstances, even a valid
 forum selection clause is entitled to less weight.

      Accordingly, transfer is appropriate here because the Arizona District Court is
the most appropriate forum to determine the all the issues here, including whether the
CBA was ratified and whether Arizona law applies.

IV.    CONCLUSION

     The Court GRANTS the Motion to Dismiss or, in the Alternative, to Transfer
Venue. The Court GRANTS the Motion for Joinder.                             ·

       The Court ORDERS that this action be TRANSFERRED to the United Slates
                                                                                      1
District Court for the District of Arizona.

       IT IS SO ORDERED.


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